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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:22-cv-20701-BB

 PABLO COMAS,

        Plaintiff,

 vs.

 CHRIS'S AUTO SALES CORP.,
 SACHA BROCE,

       Defendants.
 ______________________________/

              PLAINTIFF’S MOTION FOR ENTRY OF CLERK’S DEFAULT
                     AGAINST DEFENDANT, SACHA BROCHE

        Plaintiff, Pablo Comas, through undersigned counsel and pursuant to Fed. R. Civ. P. 55

 and other applicable Rules and laws, moves the Clerk of Court to enter a Default against

 Defendant, Sacha Broche, based on the following good cause:

        1.      Plaintiff, Pablo Comas, served the Summons and Complaint on Defendant, Sacha

 Broche, on April 19, 2022. [ECF No. 14].

        2.      Defendant, Sacha Broche, failed to timely file a request for an extension of time

 from the Court, failed to receive an extension of time from the Court, and otherwise failed to

 respond to the Complaint such that the Clerk of Courts should now proceed to enter a Default

 against Defendant, Sacha Broche.

                                    MEMORANDUM OF LAW

        “In the courts, there is room for only so much lenity. The district court must consider the

 equities not only to plaintiff and his counsel, but also to the opposing parties and counsel, as well

 as to the public, including those persons affected by the court's increasingly crowded docket.” Young



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 v. City of Palm Bay, Fla., 358 F.3d 859, 864 (11th Cir. 2004).

        WHEREFORE Plaintiff, Pablo Comas, requests the Clerk of Courts to issue a Default

 against Defendant, Sacha Broche, for failing to respond to the Complaint within the time

 proscribed by law or request (and obtain) an extension of time from the Court, and to award such

 other and further relief as the Court deems just and proper.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served through

 filing in the U.S. District Court’s CM/EDF System on this 20th day of May 2022, which will effect

 service on all who appear in this action, and by U.S. Mail on Defendant, Sacha Broche, 8840 N.W.

 172 Terrace, Hialeah, FL 33018. A copy of the Court’s Order on Default Procedures at ECF No.

 17 was also sent to Defendant, Sacha Broche, at the address indicated in the previous line.

                                                                  s/Toussaint Cummings, Esq.

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